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AO 199A(Rev. 12/11) Order Setting Conditions ofRelease                                               Page 1 of   3   Pages


                                       United States District Court
                                                                    for the

                                                         Southern District of Georgia


                   United States ofAmerica
                                  V.

                                                                                Case No. 219-cr-1
                            Alex Cribb


                             Defendant

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection ofa DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change ofresidence or telephone number.

(4) The defendant must appear in court as required and, ifconvicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:              Brunswick FedomI CourthousG, 801 GloucestBr StreGt, Brunswick, GA
                                                                                        Place




      on
                                                                       Date and Time


      If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond,ifordered.




$20,000 appGarancG bond, SGCurad by third party surety. Surety is Marion Cribb, 517 Celdon Lane, St. George, GA 31562
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AO 199B (Rev. 12/11) Additional Conditions ofRelease
Alex Cribb                                                                                                                            Page —of        Pages
2:19CR00001                                                                                                                                      _3

                                                  ADDITIONAL CONDITIONS OF RELEASE

       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(□ )    (6)   The defendant is placed in the custody of:
              Person or organization
              Address (only ifabove is an organization)
              City and state                                                                            Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if die defendant violates a condition of release or is no longer in the custodian's custody.

                                                                         Signed:
                                                                                                      Custodian                                   Date
(13) (7) The defendant must:
    (13 ) (a) submit to supervision by and report for supervision to the           SUPERVISING OFFICER AS DIRECTED
              telephone number                           , no later than                                       .
    (CH) (b) continue or actively seek employment.
    (C]) (c) continue or start an education program.
       (□) (d) surrender any passport to:
       (13) (e) not obtain a passport or other international travel document.
       (13) (f) abidebythefollowingrestrictionsonpersonalassociation, residence, or travel:                  TRAVEL IS RESTRICTED
                   TO THE SOUTHERN DISTRICT OF GEORGIA AND THE MIDDLE DISTRICT OF FLORIDA
       (13) (g) avoid all contact, directly or indirectiy, with any person who is or may be a victim or witness in the investigation or prosecution,
                including: CO-DEFENDANTS, UNLESS ARRANGED BY AND IN THE PRESENCE OF COUNSEL

       (□) (h) get medical or psychiatric treatment:

       (□) (>) return to custody each                        at            o'clock after being released at                  o'clock for employment, schooling,
                   or the following purposes:

       (n ) 0) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                   necessary.
       (13 ) (k) not possess a firearm, destructive device, or other weapon.
       (13) (1) not use alcohol ( D ) at all ( El ) excessively.
       (□) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                   medical practitioner.
       (□) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                   random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                   prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                   of prohibited substance screening or testing.
       (□) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                   supervising officer.
       (□) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                   (n ) (i) Curfew. You are restricted to your residence every day ( □ ) from                               to               , or ( O ) as
                                directed by the pretrial services office or supervising officer; or
                   (□) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                activities approved in advance by the pretrial services office or supervising officer; or
                   (□) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                court appearances or other activities specifically approved by the court.
       (n ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                   requirements and instructions provided.
                   (□) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                          supervising officer.
       (13 ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                   arrests, questioning, or traffic stops.
       (□) (S)
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 A0199C (Rev. 09/08) Advice ofPenalties                                                                       Page   3    of    3      Pages

                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE.DEFENDAMT:

 YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:


       Violating any ofthe foregoing conditions of release may result in the immediate issuance ofa warrant for your arrest, a
 revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
 imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
 and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
 consecutive (i.e., in addition to)to any other sentence you receive.
         It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper,with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or Intimidate or
attempt to intimidate a witness, victim,juror, informant, or officer ofthe court. The penalties for tampering, retaliation, or intimidation
 are significantly more serious if they involve a killing or attempted killing.
        If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
 you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
      (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more tl^ $250,000 or imprisoned for not more than 10 years, or both;
         (2) an offense punishable by imprisonment for a term offive years or more, but less than fifteen years- you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
         (3) any other felony- you will be fmed not more than $250,000 or imprisoned not more than two years, or both;
         (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
         A term ofimprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
 addition, a failure to appear or surrender may result in the forfeiture ofany bond posted.

                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that 1 am aware of the conditions of release. I promise to obey all
 conditions ofrelease,to appear as directed, and surrender to serve any sentence imposed. 1 am aware ofthe penalties and sanctions set
 forth above.




                                                                                        Defendant's Signature

                                                                                  Cfificc
                                                                                            City and State



                                               Directions to the United States Marshal


(0^ The defendant is ORDERED released after processing.
( n)The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudge that the defendant
    has posted bond and/or complied with all other conditions for release. Ifstill in custody, the defen(|ant must be produced before
          the appropriate judge at the time and place specified.


 Date:     *2-y/|                                                                     Judicial Officer's Signature


                                                                   BENJAMIN W.CHEESBRO, U.S. MAGISTRATE JUDGE




                     DISTRIBUTION:    COURT      DEFENDANT         PRETRIAL SERVICE     U.S. ATTORNEY          U.S. MARSHAL
